345 F.3d 1120
    UNITED STATES of America, Plaintiff-Appellee,v.Timothy Wayne ARNETT, Defendant-Appellant.United States of America, Plaintiff-Appellee,v.Timothy Wayne Arnett, Defendant-Appellant.
    No. 00-10170.
    No. 00-30189.
    United States Court of Appeals, Ninth Circuit.
    Filed October 3, 2003.
    
      Dawrence W. Rice, Jr., Esq., USSC-Office of the U.S. Attorney, Sacramento, CA, Frank R. Papagni, Jr., Esq., USEU-Office of the U.S. Attorney, Eugene, OR, for Plaintiff-Appellee.
      Timothy Wayne Arnett, Reg# 60465-065, pro se, Lompoc, CA, for Defendant-Appellant.
      Before SCHROEDER, Chief Judge.
    
    ORDER
    
      1
      Upon the vote of a majority of nonrecused regular active judges of this court, it is ordered that this case be reheard by the en banc court pursuant to Circuit Rule 35-3. The three-judge panel opinion shall not be cited as precedent by or to this court or any district court of the Ninth Circuit, except to the extent adopted by the en banc court.
    
    